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                                                                                                      4/1/2022 i 1:46 AM
                                                                           Marilyn Hurgess - District Clerk Harris County
                                                                                                Envelope No.63181294
                           2022-19885/ Court: 113                                                       Hy Patricia Jones
                                                                                               Filed: 4/1/2022 11:46 AM

                                    NO.

 DANIEL MIRANDA                                                 IN TOE DISTRICT COURT
 Plaintiff,

                                                                       JUDICIAL DISTRICT

 ROSS DRESS FOR LESS,INC,
 Defendant.                                                  OF HARRIS COUNTY,TEXAS


                           PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES DANIEL MIRANDA,hereinafter called Plaintiff, complains of and about

ROSS DRESS FOR LESS,INC hereinafter called Defendant, and for cause of action show unto

the Court the following:

                           DISCOVERY CONTROL PLAN LEVEL
         1.    Pursuant to the Texas Rules of Civil Procedure Plaintiff intends that discovery be

conducted under a Level 2 Discovery Control Plan.

                                  PARTIES AND SERVICE

         2.    Plaintiff, DANIEL MIRANDA, is an individual who resides in Harris County,

Texas:

         3.    Defendant ROSS DRESS FOR LESS, INC., a Foreign Corporation based in

California, is organized under the laws of the State of Texas, and Service Of process on the

Defendant may be effected pursuant to article 2:11(A) Of the Texas Business Corporation Act, Or

its successor statute, sections 5.201 and 5.255 of the Texas Business Organizations Code, by

serving the registered agent of the corporation, C T Corporation System, at 1999 Bryan




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Street, Suite 900, Dallas, Texas 75201 its registered office. Service of said Defendant as described

above can be effected by certified mail, return receipt requested.

                                  JURISDICTION AND VENUE

          4.     This court has jurisdiction over the parties because Defendant, ROSS DRESS FOR

 T..F.SS, INC., purposefidly availed itself of the. privilege of conducting activities in the. State of

 Texas and established minimum contacts with said forum sufficient to conferjurisdiction over said

 Defendant, and the assumption ofjurisdiction over Defendant will not offend traditional notions

 of fair play and substantial justice and is consistent with the constitutional requirements of due

 process

           5.    Plaintiff would raiow that Defendant, ROSS DRESS FOR T,F.SS, INC., had

 continuous and systematic contacts with the State of Texas sufficient to establish general

 jurisdiction over said Defendant.

          6.     Plaintiff would show that Plaintiff's cause of action against Dcfcndant, ROSS

 DRESS FOR LESS, INC., arose from its continuous and systematic contacts with the State of

 Texas.

           7.    This Court has jurisdiction and venue is proper in Harris County, Texas pursuant

 to Tex. Civ. Prat. & Rem. Code §15.002(a)(1) and Tex. Ins. Code § 1952.110 in that all or a

 substantial part of the events or omissions giving rise to the claim occurred in Harris County,

 Texas.

                                               FACTS

       8        On July 7, 2020,Plaintiff, DANIEL MIRANDA was at Ross Dress for Legg with his

back facing the front ofthe store, when an employee ofRoss Dress for Less, who had shopping carts


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     in his hand, hit Plaintiff with the bar handle of a shopping cart on his lower back while he was fixing

     the baskets in the store, causing Plaintiff to fall backwards. As a result of this incident, Plaintiff

     sustained serious personal injuries for which he had to seek the care of medical professionals:

                     LIABILITY OF DEFENDANT ROSS DRESS FOR LESS,INC.,

             9.       At the time and on the occasion in question, Defendant ROSS DRESS FOR LESS,

INC.. managed, maintained, occupied, controlled, lea8ed, operated, arid/or Owned ROSS DRESS FOR

LESS, INC.. located at 5130 Hacienda Drive Dublin, California 94568. In setting up and maintaining

the store, Defendant and its employees failed to use ordinary care by various acts of omissions and/or

commissions, including but not limited to the following, each of which singularly or in combination, was

a proximate cause ofthe incident in question:

                      A.     In failing to properly train its employees;

                     B.      In failing to warn others that a dangerous condition existed; and

                      C.     In creating a hazard to others.

           10.        Such negligence, either singularly or in combination, proximately caused Plaintiff's

     injuries and resulting damages.

           11.        Nothing Plaintiff did or failed to do was a proximate or contributing cause of the




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 incident Made the basis of this suit,



                                     PREMISES LIABIELTY

       12,     Plaintiff DANIEL MIRANDA was an invitee on the premises in question managed,

maintained, occupied, controlled, leased, operated, and/or owned by Defendant, ROSS DRESS FOR

LESS, INC., Defendant knew, or in the exercise of ordinary care, should have known of an

unreasonable dangerous condition existing on the premises, which posed an unreasonable risk or

harm to the general public, including Plaintiff, DANIEL MIRANDA,but failed to inspect and make

safe or adequately warn him of the condition.

       13.     In the alternative, Plaintiff would show that he WAS A licensee on the premises in

question managed, maintained, occupied, controlled, leased, operated, and/or owned by Defendant.

Defendant knew of an unreasonable dangerous condition existing on the premises, which posed an

unreasonable risk of harm to the general public, including Plaintiff DANIEL MIRANDA,but failed

to make safe or adequately warn him of thc, condition Plaintiff was without knowledge of the

dangerous condition ofthe premises prior to the incident in question.

                                         PROXIMATE CAUSE

         14,    Each and every, all and singular ofthe foregoing ACt5 and omissions, on the part of

Defendant, taken separately and/or collectively, constitute a direct and proximate cause ofthe

injuries and damages set forth below.

                      DAMAGES FOR PLAINTIFF DANIEL MIRANDA

         15.    As a direct and proximate result ofthe occurrence made the basis of this lawsuit

and Defendants acts as described herein, Plaintiff DANIEL MIRANDA was caused to suffer

personal injuries and to endure anxiety, pain., and illness resulting in damages more fully set
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 forth below:

               a. The physical pain and mental anguish sustained from the date of incident to the
                  time of verdict herein;

               b. The physical pain and mental anguish which, in reasonable medical probability,
                  will be suffered after the date of verdict herein;

               c. The reasonable and necessary costs of medical care and treatrnent, including
                  doctors, hospitals; nurses, medicines, and other services and supplies from the date
                  of the incident to the time of verdict herein;

               d. The reasonable and necessary costs of medical care and treatment, including
                  doctors, hospitals, nurses, medicines, and other services and supplies, which, in
                  reasonable probability will be incurred in the future after the date of verdict

                  Physical impairment which has been sustained, resulting in lessened use and/or
                  movement of various parts of Plaintiffs body from the date of the incident to the
                  date of verdict herein; and

               F. The physical impairment which, in reasonable probability, will be sustained to
                  various parts ofPlaintiffs body, resulting in lessened use and/or movement ofsame
                  in the future after the date of verdict herein.

               g. Physical disfigurement which has been sustained, resulting in lessened use and/or
                  movement of various parts of Plaintiffs body from the date of the incident to the
                  date of verdict herein; and

               h. The physical disfigurement which, in reasonable probability, will be sustained to
                  various parts ofPlaintiffs body, resulting in lessened use and/or movetnent of same
                  in the future after the date of verdict herein.

         16       By reason ofthe above, Plaintiff, DANIEL MIRANDA has suffered losses and

damages in a sum within the jurisdictional limits ofthe Court and for which this lawsuit is brought.

                                     PRESERVING EVIDENCE

         17.      Plaintiff hereby requests and demand that Defendant preserves and maintains all

evidence pertaining to any claim or defense related to the incident made the basis of this lawsuit




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 or the damages resulting there from, including statements, photographs, videotapes, audiotapes,

 surveillance or security tapes or information, business or medical records, incident reports, tenant

 files, periodic reports, financial statements, bills, telephone call slips or records, estimates,

 invoices, checks, measurements, correspondence,facsimiles, email, voice mail,text messages, and

 evidence involving the incident in question, and any electronic image or information related to the

 referenced incident or damages. Failure to maintain such items will constitute "spoliation" of the

 evidence.

                                          NOTICE OF USE

        18.     Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Defendant is hereby

notified that Plaintiff intends to use all documents produced by Defendant in response to written

discovery in pretrial proceedings and trial. Defendant is required to assert any objection to the

authenticity of any document Plaintiff produces within ten days of its production.
                         DESIGNATED E-SERVICE EMAIL ADDRESS

         19.     The.following is the undersigned attorney's designated e-Service email address for

all e- served documents and notices, tiled and untiled, pursuant to Tex. R. Civ. P. 21(f)(2)& 21a:

Litigation@ThcIIadiLawFirm.com. This is the undersigned's only e-Service email address, and

service through any other email address will be considered invalid.

                             REQUEST FOR DEPOSITION DATES

         20:    Pursuant to Rule 199 of the Texas Rules of Civil Procedure, Plaintiff request that

each and every Defendant disclose, within fifty (50) days of service of this request, dates that

Defendant is available for Plaintiff to take Defendant's deposition. Plaintiff request that each

corporate Defendant provide dates that Defendant's corporate representative is available for


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 Plaintiff to take Defendant's corporate representative's deposition.

                     STATEMENT REGARDING MONETARY RELIEF SOUGHT

         21.     Under the Texas Rules of Civil Procedure 47(c), Plaintiff seeks moue,taiy relief in

excess of $1,000,000.00 including damages of any kind, penalties, Costs, expenses, pre- judgement

interest, and judgement for all other relief to which Plaintiffs is justly entitled Plaintiff expressly

reserves the right to amend this damage calculation as discovery progresses.

                                               PRAYER

           WHEREFORE, PREMISES CONSIDERED, Plaintiff, DANIEL MIRANDA,

 respectfully prays that the Defendant be cited to appear and answer herein, and that upon a final

 hearing of the cause, judgment be entered for the Plaintiff against Defendant for damages in an

 amount within the jurisdictional limits of the Court; together with pre-judgment interest at the

 maximum rate allowed by law; post-judgment interest at the legal rate, costs of court; and such

 other and further relief to which the Plaintiff may be entitled at law or in equity.

                                                Respectfully submitted,

                                                THE HARI LAW FIRM,PLLC
                                                                              ,..,•-•""
                                                By
                                                ITusein liadi
                                                Texas Bar No.24067641
                                                Jamil Thomas
                                                Texas Bar No.24066914
                                                Sr.vr, Tl Hums
                                                Texas Bar No. 24115145
                                                Ariana Mehdipour
                                                Texas Bar No.24123765
                                                Anita Mehdipour
                                                Texas Bar No. 24126491
                                                7100 Regency Square Boulevard, Suite PIO
                                                Houston, Texas 77036
                                                Tel: (832)433-7977
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                                 Fax: (855)HADI-LAW (855-423-4529)
                                 1it1gation( ,thehadi1awfitin.com
                                 Attorneys for Plaintiffs


              PLAINTIFF HEREBY DEMANDS TRIAL BY JURY

                       DATE FILED: April 1,2022

NOTICE TO DEFENDANT:
IF YOU HAD AUTO INSURANCE
AT THE TIME OF THIS ACCIDENT,PLEASE
FORWARD THIS DOCUMENT & ANY OTHER DOCUMENTS)
RELATED TO THIS ACCIDENT TO YOUR INSURANCE CARRIER:

    SEDGWICK CLAIMS MANAGEMENT SERVICES,INC.
    P.O BOX 14012
    Lexington,KY 40512
    Fax:(859)264-4068
    Claimit: 302055962490001




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